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                  IN THE UNITED STATES DISTRICT COURT
                 FOR TBE EASTERN DISTRICT OF VIRGINIA
                           Richmond Division

WILLIAM G. CLOWDIS, JR., M.D.,

     Plaintiff,

v.                                            Civil Action No. 3:15-cv-128

JOEL JEREMY SILVERMAN, M.D., et al.,

     Defendants.


                               MEMORANDUM OPINION

     This    matter      is    before   the    Court   on   the     Commonwealth

Defendants' THIRD AMENDED MOTION TO DISMISS (ECF No. 106); RENEWAL

AND SUPPLEMENTATION OF MOTIONS TO DISMISS BY DEFENDANTS JOEL JEREMY

SILVERMAN,    M. 0.;     MCV     ASSOCIATED      PHYSICIANS;      AND   VIRGINIA

COMMONWEALTH UNIVERSITY HEALTH SYSTEM AUTHORITY (ECF No. 108); and

SECOND   RENEWAL AND          SUPPLEMENTATION OF MOTIONS       TO    DISMISS   BY

DEFENDANTS JOEL JEREMY SILVERMAN, M.D.; MCV ASSOCIATED PHYSICIANS;

AND VIRGINIA COMMONWEALTH UNIVERSITY HEALTH SYSTEM AUTHORITY (ECF

No. 129). For the reasons set forth below, these motions will be

GRANTED in their entirety.

                                   BACKGRO'OND

     This is the latest chapter of a case first filed with the

Court in 2015.         In October 2015, Plaintiff William G. Clowdis,

Jr., M.D. ("Clowdisu), proceeding prose, filed his SECOND AMENDED

COMPLAINT FOR MANDAMUS AND DAMAGES (ECF No. 15)                ("SAC") against
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various Defendants,           including the "Commonweal th Defendants" 1 and

the "VCU Defendants" 2 (both sets of Defendants are hereinafter

referred to as "Defendants").                  The essence of the SAC is that

Clowdis       objects   to    the   suspension     of    his   medical    license    by

Virginia officials, and alleges various procedural and legal flaws

that     he   thinks    are   inherent    in    the     suspension.      The   factual

background as alleged by Clowdis was detailed in the Court's 2016

MEMORANDUM OPINION (ECF No. 77), and is set forth again below.

I. Factual Background Underlying the Second Amended Complaint

        Clowdis states that he is a former physician who earned a

license       to   practice    medicine    and     surgery     in     obstetrics    and

gynecology in the Commonwealth in 1991. SAC i i 5, 20, 26 (ECF No.

15). Because of a prolonged illness between 2001 and 2004, Clowdis

voluntarily inactivated his Virginia license beginning in 2001.

Id. i i 22, 26. The illness was exacerbated by the use of doctor-

1 The Commonwealth Defendants include:       the Commonwealth of
Virginia; the Department of Health Professions ("DHP"); the
Virginia Board of Medicine ("Board"), which is a part of DHP;
Virginia Commonweal th University ( "VCU") ; the Virginia Heal th
Practitioners' Monitoring Program ("HPMP"); William Harp, M.O.,
Executive Director of the Board; Jennifer Deschenes, Deputy
Executive Director of the Board; investigator Sherry Foster, who
works in the Enforcement Di vision of DHP and assisted in the
investigation of Dr. Clowdis' case; investigator Loretta Hopson-
Bush; and Amy Stewart, case manager for HPMP. See ECF No. 107 at
1 n.1.
2 This group consists of: Joel Jeremy Silverman, M.D.; MCV
Associated  Physicians   ( "MCVAP") ; and Virginia  Commonweal th
University Health System Authority ("VCUHSA"). See ECF Nos. 109,
130.
                                           2
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prescribed medications that induced adverse physical and mental

symptoms. Id.              ':![':I[   23, 24. During his illness and while under the

influence of these prescription medications, Clowdis was involved

in an incident at his residence that resulted in a felony charge

in Colorado state court.                           Id.          ':![':I[   24, 25, 28. The Colorado state

court placed Clowdis in a diversion program, whereby his felony

conviction would be erased contingent upon successful completion

of a period of court supervision. Id.                                          ':![':I[   25, 28 n.2. Clowdis was

taken off his prescription medications in 2004, and his treating

physician cleared him to return to the practice of medicine in

2005.         Id.   ':I[   26.         Clowdis       completed                 the         Colorado      state   court

di version program,                     with the result that the felony charge was

dismissed with prejudice.                           Id.            ':I[    28. While being weaned off his

prescriptions, Clowdis voluntarily enrolled in a physician health

monitoring program in Colorado known as the Colorado Physician

Heal th Program ( "CPHP") . Id.                          ':I[     27.

             In December 2006,                    after completing the Colorado diversion

program, Clowdis received an offer to work as an OB/GYN at a West

Virginia hospital. Id.                     ':I[    29. CHCP could not monitor Clowdis once

he left Colorado, and requested that Clowdis notify the appropriate

monitoring program in Virginia, the state in which he was licensed.

Id.   ':I[   30. Clowdis disclosed his participation in CPHP to Virginia's

Health          Practitioner               Monitoring                        Program          ("HPMP")      under    a

                                                                      3
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confidentiality agreement. Id. 1 30. HPMP determined that Clowdis

could not participate in HPMP because he resided in West Virginia.

Id.   ~    31. Clowdis alleges that,     in breach of the confidentiality

agreement,        HPMP   informed the   Virginia   Board of Medicine            ( "the

Board")      about Clowdis'     felony conviction.     Id.    1    30.   The Board

revoked Clowdis' medical license without a hearing on the basis

that Clowdis was a convicted felon. Id.~ 31. The Board also placed

a record in the "National Practitioner Data Bank" ("NPDB") stating

that Clowdis was a convicted felon. Id.~ 39. Clowdis alleges that

he promptly informed the Board that he was not a convicted felon.

Id. 1 32.

          Between 2005 and 2010, Clowdis received forensic psychiatric,

independent medical,          and   competency evaluations,        all   of which

found him fit to return to practice.            Id.   1 41.   One such review

came from Defendant Joel Silverman, M.D.           ("Silverman"). Id.

          At an unspecified subsequent point between 2007                and 2011,

Clowdis applied for reinstatement of his Virginia medical license.

Id.   ~    37. Initially, the Board informed Clowdis that it would not

reinstate his license because of Clowdis' history of mental health

problems and his past receipt of disability benefits.                     Id.         In

2011,      four   years after his     initial suspension,         the Board gave

Clowdis a hearing on reinstatement. Id. 1 40. Silverman's report

played a substantial role in the decision-making process.                       Id.    ~



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4 9.

       Following the hearing, in 2011, the Board issued an Order in

which it made formal findings of fact that:         (1) Clowdis showed no

evidence of current psychopathology or substance abuse, and (2)

the    felony charge against    him had been dismissed.        Id.   -n 42.
Nevertheless, the Board made a finding of law that Clowdis was a

convicted felon. Id.     On this basis, the Board stayed Dr. Clowdis'

suspension, contingent on his participation in HPMP monitoring.

Id. -n 45. The HPMP monitoring contract required Clowdis' compliance

with all HPMP orders, upon penalty of suspension or revocation of

his medical license. Id. -n 46. Although Clowdis asserts that the

hearing was flawed by certain enumerated procedural and legal

errors,   Clowdis   did not    appeal    the   ruling within   the   30-day

deadline. Id. i 45.

       After the 30-day deadline to appeal, HPMP allegedly informed

Clowdis that he would not be permitted to work indefinitely,

restricted Clowdis from leaving Virginia, and restricted Clowdis

from making phone calls to out-of-state hospitals interested in

hiring him. Id. -n-n 47-48.   At about this time, Clowdis also learned

that his evaluator, Silverman, was the CEO of HPMP. Id. -n 49-50.

Clowdis suspended participation in HPMP because he could not comply

with HPMP' s prohibition on employment and because he disagreed

with the terms of HPMP's monitoring contract. Id. -n-n 52-54.

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      As a result of Clowdis' non-participation in HPMP, the Board

convened a new hearing in February 2013, which Clowdis asserts was

flawed by certain enumerated procedural and legal errors.                                  Id.   'I[


55.   The   Board      reinstated        Clowdis'            suspension.        Id.       Clowdis

appealed the Board's decision to the Circuit Court for the City of

Richmond (the "Circuit Court"). Id.                'I[   56. Clowdis alleges that the

Board did not send certain records to the Circuit Court, with the

result that litigation there was delayed. Id.

      Lastly, Clowdis alleges that "Defendants,                            including but not

limited     to   the    Medical     Board        and         the    NPDB,    have     continued

discriminatory         acts     against     Dr.     Clowdis           to    present,"       which

included    "acts      in     retaliation    of      this          complaint,     whereby     the

Medical Board reported false information against Plaintiff to the

NPDB, which the NPDB published, in June 2015." Id. 'Il 60.

II. Procedural Context for the Pending Motions

      In 2015, Clowdis filed this action against a host of entities

and individuals involved with his suspensions.                              Relevant to the

pending motions, the SAC alleged, inter alia, the following claims

for relief:      Discrimination Based on Disability under Title II of

the Americans with Disabilities Act ("ADA"), 42 U.S.C. § 12131 et

~     (Count I); a violation of Section 504 of the Rehabilitation

Act of 1973, 29 U.S.C. § 794 (Count II); retaliation in violation

of Title II      of the ADA,        42    U.S.C.         §    12203    (Count     III);    and a


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violation of the Due Process Clause of the Constitution and 42

u.s.c.    § 1983 (Count IV) . 3 SAC i i 62-147 (ECF No. 15). The various

defendants filed a first set of MOTIONS TO DISMISS the SAC. See

ECF Nos. 24, 29, 49, 55.

        After considering the parties' positions on these MOTIONS TO

DISMISS, the Court granted them in their entirety in a MEMORANDUM

OPINION dated May 5, 2016. ECF No. 77. The Court held that Younger

abstention precluded its exercise of jurisdiction because Clowdis

had ongoing, related litigation in Virginia state court. Mem. Op.

at 12-20 (ECF No.         77).     The Court dismissed the claims against

Defendant National Practitioner Data Bank on ripeness grounds. Id.

at 27. Clowdis appealed.

        In an unpublished,        per curium opinion,    the Fourth Circuit

"affirm[ed] the district court's order dismissing Clowdis' claims

for     injunctive       and    declaratory   relief"   but   "vacate[d]   the

dismissal of his claims for damages and remand[ed] with instruction

to stay these claims until resolution of Clowdis' state appeal."

Clowdis v. Silverman, 666 Fed. Appx. 267, 271 (4th Cir. 2016). The

claims over which the Court was to retain jurisdiction were claims

for     "damages   for    the    alleged violation of his      constitutional

rights, as well as damages for the alleged violations of the ADA



3As discussed below, the other Counts in the SAC are no longer
before the Court.
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and the RA." Id. at 270.

       Following this decision of the Court of Appeals, this Court

ORDERED "that the plaintiff's claims for damages with respect to

alleged    violations      of   his     constitutional       rights   and     alleged

violations of the American Disabilities Act and the Rehabilitation

Act,   Counts I through IV,       are reinstated and are stayed pending

resolution of the plaintiff's state court proceedings." ECF No.

85. The Court further ORDERED the parties to file periodic status

reports on the      state court proceedings,              id.,   which were     filed

between February 2017 and April 2018. See ECF Nos. 86-89, 91-94,

97-100.

       On August 1, 2018, following the conclusion of Clowdis' state

court proceedings,        the Court ORDERED that "the stay imposed by

this   Court's    ORDER    (ECF   No.    85)    entered    January    23,   2017   is

lifted." ECF No. 103. The Court noted that "COUNTS IV through XI

are no longer before the Court having been previously dismissed,

and that    decision was        affirmed by the      United States Court           of

Appeals for the Fourth Circuit." Id.               The Court further ORDERED

that the Defendants could renew any motions to dismiss the SECOND

AMENDED COMPLAINT FOR MANDAMUS AND DAMAGES                   (ECF No.   15)    in an

"orderly," count-by-count manner.              Id. Because of the significant

number (and confusing nature) of documents filed up to that point

by Clowdis,      the Court further ORDERED that Clowdis "shall file


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nothing until the defendants file any motions that they may file

pursuant to this ORDER and then the Plaintiff may respond in due

course." Id.

        Pursuant to that ORDER,        the Commonwealth Defendants      filed

their THIRD AMENDED MOTION TO DISMISS (ECF No. 106) and supporting

memoranda      (ECF Nos.   107,   119). Clowdis responded in opposition.

ECF No. 114. Likewise, the VCU Defendants filed their RENEWAL AND

SUPPLEMENTATION OF MOTIONS TO DISMISS BY DEFENDANTS JOEL JEREMY

SILVERMAN,       M. D.;    MCV    ASSOCIATED   PHYSICIANS;    AND    VIRGINIA

COMMONWEALTH UNIVERSITY HEALTH SYSTEM AUTHORITY (ECF No. 108) and

supporting memoranda        (ECF Nos. 109, 120). Again, Clowdis opposed

this motion. ECF No. 115.

        In reviewing these motions and memoranda,          the Court became

aware that Count IV of the SAC (ECF No. 15) should still have been

before the Court because it sought damages for an alleged violation

of the Due Process Clause of the U.S. Constitution. See ORDER (ECF

No. 128); SAC i 97. Accordingly, the Court reinstated that Count;

lifted the      stay as    to it;    and provided the VCU Defendants         an

opportunity to amend their MOTION TO DISMISS              (ECF No.   108)   and

file supplemental memoranda          (as well as a response by Clowdis) . 4

ECF No. 128.       The VCU Defendants then filed their SECOND RENEWAL


4 The Commonwealth Defendants' THIRD AMENDED MOTION TO DISMISS (ECF
No. 106) already addressed Count IV, so they did not need to
respond to this ORDER. ECF No. 128.
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AND SUPPLEMENTATION OF MOTIONS TO DISMISS BY DEFENDANTS JOEL JEREMY

SILVERMAN,       M. D.;     MCV   ASSOCIATED          PHYSICIANS;        AND    VIRGINIA

COMMONWEALTH UNIVERSITY HEALTH SYSTEM AUTHORITY (ECF No. 129) and

supporting memoranda (ECF Nos. 130, 134). Clowdis opposed it. ECF

No. 131.

       Now pending before the Court are the Commonwealth Defendants'

and the VCU Defendants'           MOTIONS TO DISMISS              (ECF Nos.    106,     108,

129)   the   remaining Counts          of the SECOND AMENDED COMPLAINT FOR

MANDAMUS AND DAMAGES (ECF No. 15). The remaining Counts are Counts

I through IV. See ECF No. 128.               The Commonwealth Defendants bring

their MOTION pursuant to Fed. R. Civ.                  P.   12(b) (1)     and 12(b) (6).

The VCU Defendants bring their MOTION pursuant to Fed. R. Civ. P.

12{b) (1),   12(b) (4),      and 12(b) (6).       These MOTIONS have been fully

briefed and the matter is ripe for decision.

                                  LEGAL FRAMEWORK

I. Clowdis' Pro Se Status

       Clowdis    is      proceeding    in    this    matter      pro    se.   The    Court

typically    construes        documents       filed    by     a    pro    se   plaintiff

liberally. See, e.g., Erickson v. Pardus, 551 U.S. 89,                         94     (2007)

(per curiam). However, Clowdis alleges that, while waiting for the

Board to act on reinstating his medical license between 2007 and

2011, he completed law school. SAC~ 35                      (ECF No. 15). He passed

the New York State bar examination in 2011, "but his bar admission


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was placed on hold [as] a result of his suspended medical license."

Id.     '1[    36.

              "The     Fourth        Circuit      has     not   explicitly      decided    whether

attorneys              proceeding           pro    se     are   entitled     to    this    liberal

construction." Downing v. Lee, No. l:16-cv-1511, 2017 WL 3082664,

at *7 (E.D. Va. July 18, 2017)                          (citing Kerr v. Marshall Univ. Bd.

of Governors,                824 F.3d 62,          72   (4th Cir.     2016)).     This Court has

declined to apply this liberal treatment to lawyers proceeding pro

se. See Rashad v. Jenkins, No. 3:15cv655, 2016 WL 901279, at *2-3

(E.D.          Va.     Mar.     3,    2016)       (surveying     federal    circuit    court    and

Eastern              District        of    Virginia     opinions) .   5    However,   in    recent

decisions, the Fourth Circuit has expressly left open the question

of whether a lawyer proceeding prose "receives the benefit of

this liberal construction." Kerr, 824 F.3d at 72; see also Willner

v.     Dimon,          849    F.3d        93,   103-104     (4th Cir.     2017).    Because    this

remains an open question,                         "[o] ut of an abundance of caution.             .

.and in accordance with the liberal construction [afforded to] a

prose complaint," the Court will "construe [Clowdis'] arguments




5 In the MEMORANDUM OPINION (ECF No. 77), the Court declined to
extend pro se status to Clowdis because he is a law school
graduate, had passed the bar examination, and would have been
admitted to practice law but for the Board's suspension of his
license. Id. at 9. The Fourth Circuit "decline [d] to address"
whether this was the proper course because "the construction of
the filings would not have altered the district court's rulings."
Clowdis v. Silverman, 666 Fed. Appx. 267, 271 n.3 (4th Cir. 2016).
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as best [it] can . . . . " Kerr, 824 F.3d at 72.

II.    Motions to Dismiss under Fed. R. Civ. P. 12

       The Commonwealth Defendants bring their MOTION pursuant to

Fed.   R. Civ.      P.   12(b) (1)   and 12(b) (6),    while the VCU Defendants

bring their MOTIONS pursuant to Fed. R. Civ. P. 12(b) (1), 12(b) (4),

and 12 (b) ( 6) .

       The Court recently set forth the well-established principles

governing Rule 12(b) (1):

             A party may file a motion to dismiss for lack
             of subject matter jurisdiction under Fed. R.
             Civ. P. 12 (b) (1). If a court finds that it
             does not have subject matter jurisdiction over
             the case or controversy, it must dismiss the
             action. Of course, the plaintiff bears the
             burden    of    establishing   that    federal
             jurisdiction is proper.

             Challenges to subject matter jurisdiction may
             be made in two ways. First, a facial challenge
             to jurisdiction may be made by arguing that
             the complaint does not allege facts that
             permit the exercise of federal subject matter
             jurisdiction. If that type of challenge is
             raised, the court must assume that all facts
             alleged in the complaint are true. Second, the
             challenge can be made under the theory that
             the complaint's assertion of subject matter
             jurisdiction is not true. In that event, a
             court may consider evidence outside the
             pleadings.

Andrews v. Taylor, No. 3:17-cv-533, 2018 WL 2108022, at *2                   (E.D.

Va. May 7, 2018)         (citation omitted).

       Motions to dismiss under Fed. R.               Civ.   P. 12(b) (4) test the

usufficiency of the form of . . . process, rather than the manner or
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method by which it is served." Stewart v. Va. Commonwealth Univ.,

No.    3:09CV738,      2011 WL 1827735,              at *2   (E.D.       Va.    May 12,       2011)

(citation omitted).

       Lastly, motions to dismiss based upon Fed. R. Civ. P. 12(b) (6)

are evaluated under the following standards:

               In [considering a Fed. R. Civ. P. 12(b) (6)
               motion to dismiss], we must accept the factual
               allegations of the complaint as true and
               construe them in the light most favorable to
               the nonmoving party. To survive a 12 (b) (6)
               motion, the "complaint must contain sufficient
               factual matter, accepted as true, 'to state a
               claim to relief that is plausible on its
               face.'" A claim is "plausible on its face," if
               a plaintiff can demonstrate more than "a sheer
               possibility   that  a   defendant   has  acted
               unlawfully."

Rockville Cars, LLC v. City of Rockville, 891 F.3d 141, 145 (4th

Cir.   2018)     (quoting Ashcroft v.            Iqbal,      556 U.S.          662,   678    (2009)

and Bell Atl. Corp.            v.   Twombly,         550 U.S.    54 4,    570     (2007) ) . The

Court "may consider documents attached to the complaint or the

motion to dismiss so long as they are integral to the complaint

and authentic." Rockville Cars, 891 F.3d at 145 (citation omitted).

Notwithstanding those basic principles,                      however,          the Court does

not    "accept    as    true    a   legal       conclusion       couched         as   a     factual

allegation." SD3, LLC v. Black              &    Decker (U.S.) Inc., 801 F.3d 412,

422    (4th Cir. 2015)         (citation omitted).              "Threadbare recitals of

the elements of a cause of action,                     supported by mere conclusory

statements, do not suffice." Iqbal, 556 U.S. at 678.
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     Finally, as this Court recently has held:

           A statute of limitations defense may be
           decided upon on a motion to dismiss [pursuant
           to Fed. R. Civ. P. 12(b)(6)). Typically, a
           court may only do so "if all facts necessary
           to the affirmative defense 'clearly appear[ ]
           on the face of the complaint.'" The Court does
           not   read    this   principle   as   barring
           consideration of other materials that may be
           properly reviewed in resolving a motion to
           dismiss.

Penn v.   1st S.   Ins.      Servs.,   Inc.,   324 F. Supp.    3d 703,   714 n. 9

(E.D. Va. 2018)    (citations omitted).

                                   DISCUSSION

     While this case involves a dizzying array of assertions and

allegations by Clowdis against the Defendants, at this point, the

Court faces one straightforward question:               do the damages claims

asserted in Counts I through IV of the SECOND AMENDED COMPLAINT

FOR MANDAMUS AND DAMAGES           (ECF No.    15)   survive the     Defendants'

MOTIONS TO DISMISS? The Court concludes that the answer is "no."

     While   the   arguments      raised by      each   set   of   Defendants    in

support of their MOTIONS TO DISMISS are similar, the Court will

proceed to analyze each Defendant's MOTION separately,                   and,    as

explained below, the Court will GRANT each of the MOTIONS.

I.   Commonwea1th Defendants' Motion to Dismiss (ECF No. 106)

     The Commonwealth Defendants argue that all Counts should be

dismissed because     ( 1)    the statutes of limitations have run;             ( 2)

qualified and quasi-judicial immunity apply; and (3) Clowdis has
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failed to state a claim. ECF No. 106 at 1-2; ECF No. 107 at 7. For

Count IV specifically, the Commonwealth Defendants assert Eleventh

Amendment immunity,         res    judicata,    and collateral estoppel. 6 Id.

Though somewhat difficult to discern,                Clowdis'      response argues

that the Virginia proceedings have not afforded Colorado law "full

faith and credit"; that the Commonwealth Defendants have violated

the   Double      Jeopardy     Clause     of   the   U.S.    Constitution;     that

Virginia's state proceedings were ultra vires; that the statutes

of limitations have not expired on his                 claims;     that   sovereign

immunity    does    not      apply;     that   qualified     and    quasi-judicial

immunity do not apply;            that he has adequately stated claims to

survive a motion to dismiss; and that res judicata and collateral

estoppel do not apply. See generally ECF No. 114.

      For the following reasons, the Court GRANTS the Commonwealth

Defendants' MOTION TO DISMISS             {ECF No.   106). The Court need not

address    each    ground    for    dismissal    raised     by   the   Commonwealth

Defendants. 7 The Court will deal with Counts I through III first,


6 With the exception of the res judicata and collateral estoppel
defense, which the Commonwealth Defendants argue is properly
considered under Fed. R. Civ. P. 12{b) {6), see ECF No. 107 at 21,
the Commonwealth Defendants do not specify under which Fed. R.
Civ. P. the Court should consider their MOTION TO DISMISS.
7
  While it is necessary to resolve questions of subject matter
jurisdiction first, see e.g., Owen-Williams v. Higgs, No.DKC 18-
0439, 2019 WL 448810, at *2 {D. Md. Feb. 5, 2019) {quoting Owens-
Illinois, Inc. v. Meade, 186 F.3d 435, 442 n.4 {4th Cir. 1999)),
the only defense raised by the Commonwealth Defendants with
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followed by Count IV.

      A. Counts I through I I I

      The Fourth Circuit has held that courts should "apply the

same substantive analysis to both the ADA and the Rehabilitation

Act '(b]ecause the language of the two statutes is substantially

the same.'" A Sec'y Without A Name v. Virginia, 655 F.3d 342, 347-

48   (4th Cir. 2011)   (quoting Doe v. Univ. of Maryland Med. Sys.

Corp., 50 F.3d 1261, 1264 n.9 (4th Cir. 1995)); see also Wicomico

Nursing Home v. Padilla, 910 F.3d 739, 750 (4th Cir. 2018) ("Claims

under the ADA's Title II and the Rehabilitation Act can be combined

for analytical purposes because the analysis is substantially the

same.") (citation omitted). Accordingly, it is appropriate for the

Court to consider Counts I through III together.

      For following    reasons,   the Court grants the Commonwealth

Defendants' MOTION TO DISMISS as to Counts I through III under


potential subject matter jurisdiction implications is the Eleventh
Amendment defense (and that is only raised as to Count IV). The
Court has subject matter jurisdiction over Clowdis' federal law
claims in Counts I through IV under 28 U.S.C. § 1331 as his asserted
claims arise under various federal statutes.

   The Commonwealth Defendants' qualified and quasi-judicial
immunity defenses to Counts I through III may properly be brought
under Fed. R. Civ. P. 12(b) (6). See Occupy Columbia v. Haley, 738
F.3d 107, 115-16 (4th Cir. 2013) (reviewing motion to dismiss based
on qualified immunity under Fed. R. Civ. P. 12 (b) (6)); Raub v.
Bowen, 960 F. Supp. 2d 602, 608 (E.D. Va. 2013) (same); Battle v.
Whitehurst, 831 F. Supp. 522 (E.D. Va. 1993) (deciding question of
judicial immunity under Rule 12(b) (6)).

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Fed. R. Civ.       P.   12 (b) (6)   because the statute of limitations on

these Counts expired before Clowdis brought his lawsuit. See 1st

S. Ins. Servs., Inc., 324 F. Supp. 3d at 706, 714 n.9 (deciding

statute of limitations issue under Fed. R. Civ. P. 12(b) (6)).

             (1) Statute of Limitations Bars Clowdis' Claims

     Claims brought          under either Title         II   of the ADA or the

Rehabilitation Act must be brought within one year of the claim

accruing. A Soc'y Without A Name v. Virginia, 655 F.3d at 347-48.

Such a claim "accrues when the plaintiff 'knows or has reason to

know of the injury which is the basis of the action.'" Id. at 348

(quoting Cox v. Stanton, 529 F.2d 47, 50 (4th Cir. 1975)). If there

is a continuing legal violation by a defendant, that can start the

statute of limitations anew for each additional violation. See id.

     But,    "to establish a continuing violation [,] the plaintiff

must establish that the unconstitutional or illegal act was a fixed

and continuing practice." Id. (quoting Nat'! Adver. Co. v. City of

Raleigh,     947   F.2d 1158,        1166   (4th Cir.    1991))   (alteration in

original).     That is, "if the plaintiff can show that the illegal

act did not occur just once, but rather in a series of separate

acts[,]    and if the same alleged violation was committed at the

time of each act,         then the limitations period begins anew with

each violation." Id.         ( internal quotations omitted)       (alteration in

original).     The "continuing ill effects of an original violation.

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. . do not constitute a continuing violation." Id.

      To determine whether the statute of limitation bars Clowdis'

action on these Counts, it is necessary first to determine when

Clowdis brought his ADA and Rehabilitation Act claims.                              The SAC

(ECF No. 15) was filed on October 27, 2015.                          Prior to that date,

Clowdis had also filed several other documents: his COMPLAINT FOR

MANDAMUS AND DAMAGES               (ECF No.    4) ,    which indicates that it was

"received" by the Clerk of Court on March 3, 2015, 8 and his AMENDED

COMPLAINT       (ECF   No.     52),       which,      by    order    of    the   Court,     was

determined to be filed on March 28, 2015. See ECF No. 51.                                 Given

Clowdis'       pro se status,         and the         similarities        in these various

complaints,      the Court will treat March 3,                      2015 as the starting

date for statute of limitations purposes because that is the date

on which Clowdis filed his first COMPLAINT. 9 Accordingly, any cause

of action must have accrued no later than March 3, 2014.

      Construing Clowdis' SAC liberally, the Court concludes that

Counts     I   through       III    are    barred      by    the    one-year     statute     of

limitations.       According to the SAC, the last concrete action of

the   Commonwealth       Defendants of which Clowdis                      complains is      the



8The Court's ECF system, however,                      indicates that this document
was filed on April 5, 2015.

9 The Defendants also treat March 3, 2015 as the filing date for
statute of limitations purposes. See, e.g., ECF No. 107 at 7; ECF
No. 109 at 8.
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second Board hearing, at which Clowdis alleges the Board "turned

the de facto suspension [of his medical license] into an explicit

one."          SAC    <J[   55    (ECF No.     15) .       As    Clowdis      expressly alleges,

"[e]vidence                 for   the     February     2013      hearing      was       withheld    from

submission and/ or                   admission      into    evidence by           Foster,      Stewart,

HPMP,          the    Medical        Board,     Deschenes,        and   Harp,          preventing    Dr.

Clowdis from countering the Defendants' acts in violation of the

ADA,          Title I I." Id.            The Board hearing occurred on February 22,

2013. Id.; ECF No. 107 at 3. Clowdis' vague allegations all flow

from the suspension of his medical license, which occurred in 2007,

SAC     <J[   3, and was last dealt with at the February 2013 hearing. Id.

<J[   55.

              It is thus clear on the                  face of the SAC that,                 after the

February 22,                2013 hearing,        Clowdis knew,          or had reason to know

about,          the         claims      that   he    asserts      against         the    Commonwealth

Defendants in Counts I through III. See A Sec'y Without a Name,

655 F.3d at 348. Rather than taking action, Clowdis waited more

than two years to act. 10

              Perhaps recognizing that the statute of limitations dooms his

claims,          Clowdis          makes    several     vague      allegations           of   continuing

violations             by     various      defendants.          See   SAC   <J[   60     ("Defendants,


10 Indeed, a search of the SAC does not yield a single reference
to any action that occurred in 2014, the year before Clowdis filed
the case.
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including but not limited to the Medical Board and the NPDB, have

continued discriminatory acts against Dr. Clowdis to present. This

includes acts in retaliation of this complaint, whereby the Medical

Board reported false information against Plaintiff to the NPDB,

which the NPDB published, in June 2015."); id.                           ':I[   70 ("The Medical

Board continues to publish discriminatory communications to the

present, daily, by its own means and through the NPDB, in violation

of    the    ADA.") .    And,   in    his    response           brief,      he       suggests   that

equitable tolling applies because he was pursuing a                                     "different

remedy against defendants" and because the defendants used "fraud

to dissuade [him] from going to court," citing two Seventh Circuit

cases.      ECF No.      114 at 24.    The Court will address each of these

arguments in turn.

        First,      as    explained     more          fully     above,          to    establish    a

continuing violation,           there must be more than                         "continuing ill

effects of an original violation" and the plaintiff must establish

a    "fixed and continuing" illegal practice.                            A Soc' y Without A

Name,       655   F. 3d at   348.    To the best of the Court's ability to

discern, the "continuing violation" that Clowdis complains of is

a report of "false information against Plaintiff" to the NPDB in

June 2015, which would be within the statute of limitations if it

represents a new violation.                 SAC    ':I[   60.   Other than citing cases

stating general propositions of law, Clowdis provides no authority


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to   support    his   position     that    the    report     to    the   NPDB     would

constitute a "continuing violation" of the ADA or Rehabilitation

Act. Rather, based on a review of the SAC, it appears that Clowdis

is   complaining of     the    "continuing ill        effects       of   an    original

violation," not an illegal pattern.                A Soc' y Without A Name v.

Virginia, 655 F.3d at 348.          Therefore, the "continuing violation"

doctrine does not apply.            And,       because everything about which

Clowdis complains stems from the original suspension of his license

in 2007 and alleged improprieties during hearings in 2011 and 2013,

Counts I through III are barred by the statute of limitations.

      Second,   the Court also rejects Clowdis'                   equitable tolling

argument, raised for the first time in his response brief. ECF No.

114 at 24. The Supreme Court of the United States has instructed

that the equitable tolling doctrine is to be employed "sparingly."

See Irwin v.     Dep't of Veterans Affairs,           498 U.S. 89,        96    (1990);

see also CVLR Performance Horses, Inc. v. Wynne, 792 F.3d 469, 476

(4th Cir.   2015)     ("Equitable tolling has long been considered an

extraordinary     remedy      in   this    circuit,    and    litigants         face     a

considerable    burden to demonstrate that             it applies.") .          As     the

Fourth Circuit has held:

            The doctrine    has been applied in "two
            generally distinct kinds of situations. In the
            first, the plaintiffs were prevented from
            asserting their claims by some kind of
            wrongful conduct on the part of the defendant.
            In the second, extraordinary circumstances
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              beyond plaintiffs' control made it impossible
              to file the claims on time."

Harris v. Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000)                               (citations

omitted).

       Clowdis' response brief (ECF No. 114) makes vague assertions

that     equitable    tolling       applies        "while       a    plaintiff        pursues    a

different      remedy     against     defendants"             and     that     the    Defendants

engaged in "fraud" to prevent him from going to court.                                  ECF No.

114 at 24. Clowdis does not clarify what he means by his first

point,    nor does this assertion fit within the Fourth Circuit's

test in Harris.         As to the second point, the "fraud" that Clowdis

alleges       (he    cites     to    SAC      <JI<JI    4 6-4 7,      55) ,     reflects     his

misunderstanding        as    to    what   the         HPMP     required.       That     Clowdis

misunderstood the terms of his suspension does not establish a

fraud on the part of the Commonwealth Defendants that would give

rise     to   equitable      tolling.      In          short,       Clowdis'     assertion      of

equitable tolling does not satisfy his heavy burden for the Court

to find that this "extraordinary remedy" applies to him. Wynne,

792 F.3d at 476.

       For the foregoing reasons, the Court finds that the statute

of limitations stands as a bar to the claims asserted by Clowdis

in   Counts     I   through    III   against           the    Commonwealth           Defendants.

Accordingly, these Counts are dismissed as to these Defendants.



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     B. Count IV

     As    discussed    above,   the     Commonwealth     Defendants      seek

dismissal of Count IV on the same grounds as they seek dismissal

of Counts I through III, as well as by an assertion of Eleventh

Amendment immunity and res judicata and collateral estoppel. See

ECF No. 106 at 1-2; ECF No. 107 at 7. 11         Clowdis brings Count IV

pursuant to the Fourteenth Amendment and 42 U.S.C.             §   1983 for

alleged procedural improprieties in his state medical licensure

proceedings. See SAC i i 88-97.

     For   the   following   reasons,    the   Court   concludes   that    the


11While not expressly stated in their briefing, it may be that the
Commonwealth Defendants did not raise the Eleventh Amendment
defense as to Counts I and III because Congress has abrogated
states' Eleventh Amendment immunity under the ADA or the
Commonwealth has waived it as to Rehabilitation Act claims. See 42
U.S.C. § 12202; United States v. Georgia, 546 U.S. 151 (2006)
(holding that Title II of ADA validly abrogates Eleventh Amendment
immunity to extent it creates a private cause of action for conduct
that actually violates the Fourteenth Amendment) ; Tennessee v.
Lane, 541 U.S. 509 (2004) (valid abrogation in cases implicating
fundamental right of access to the courts). Similarly, the Fourth
Circuit has held that state entities can waive Eleventh Amendment
immunity from suit under Section 504 of the Rehabilitation Act
when they accept "federal funds under a statute that clearly and
unambiguously condition[s] receipt of such funds on a waiver of
immunity." Constantine v. Rectors and Visitors of Geo. Mason Univ.,
411 F.3d 474, 496 (4th Cir. 2005).

  The Fourth Circuit has held that "sovereign immunity is akin to
an affirmative defense, which the defendant bears the burden of
demonstrating." Hutto v. S.C. Retirement Sys., 773 F.3d 536, 543
(4th Cir. 2014). Accordingly, if the Commonwealth Defendants have
not raised it as a defense to Counts I through III, the Court need
not consider it.
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Eleventh      Amendment    bars   this      claim     against    the   Commonwealth

Defendants.

       (1) Eleventh Amendment Immunity Applies                   to Damages Claims
       against the Commonwealth Defendants

       The Commonwealth Defendants argue that, in Section 1983 cases

for damages (as here), the Eleventh Amendment bars this Court from

exercising jurisdiction against the Commonwealth and its entities.

ECF No. 107 at 16-19. And, they argue that Clowdis' claims against

individual Commonwealth Defendants, although purportedly sued in

their "individual" capacities, are really damages claims against

the    Commonwealth,      so   they   too     must    be   dismissed      on    Eleventh

Amendment grounds. Id. at 17-19. The Court agrees.

       The Eleventh Amendment "prohibits any suit in law or equity,

commenced or prosecuted           against      one    of   the   United        States   by

Citizens of another State,            or by Citizens or Subjects of any

Foreign State." Wicomico Nursing Home v. Padilla, 910 F.3d 739,

746 (4th Cir. 2018)       (quoting U.S. Const. amend. XI). The Amendment

also generally prevents citizens from bringing suits against their

own state in federal court. Id.; Litman v. George Mason Univ., 186

F. 3d 544,    549   (4th Cir.     1999). State agencies and entities are

also protected by a State's Eleventh Amendment immunity. Regents

of the Univ. of Cal. V. Doe, 519 U.S. 425, 429-30 (1997); Hutto v.

S.C.   Ret.    Sys.,   773 F.3d 536,        542      (4th Cir.    2014)        (citations

omitted); see also 17A Moore's Federal Practice, §123.23[4) [a] (3d
                                         24
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ed. 2017)   ("The state's Eleventh Amendment immunity also extends

to any state agency that is an arm of the state government, such

as a   state health department,     because the agency is considered

part of the state.").

       To determine whether a State agency or entity is entitled to

the State's Eleventh Amendment immunity,         courts are to analyze

"four nonexclusive factors":

            (1) whether any judgment against the entity as
            defendant will be paid by the State.       (2)
            the degree of autonomy exercised by the
            entity, including such circumstances as who
            appoints the entity's directors or officers,
            who funds the entity, and whether the State
            retains a veto over the entity's actions; (3)
            whether the entity is involved with state
            concerns as distinct from non-state concerns,
            including local concerns; and (4) how the
            entity is treated under state law, such as
            whether the entity's relationship with the
            State [is] sufficiently close to make the
            entity an arm of the State.

Lawson v. Union Cnty. Clerk of Court, 828 F.3d 239, 250 (4th Cir.

2016); DeBauche v. Virginia Commonwealth Univ., 7 F. Supp. 2d 718,

721-22   (E.D. Va. 1998)   (applying these factors to determine that

VCU is an arm of the state).

       In damages actions pursuant to Section 1983, the Supreme Court

has held "that, absent waiver by the State or valid congressional

override, the Eleventh Amendment bars a damages action against a

State in federal court." See Kentucky v. Graham, 473 U.S. 159, 169


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( 198 5)   (citing several cases) . 12        Furthermore, a State's Eleventh

Amendment protection from damages claims "remains in effect when

State officials are sued for damages in their official capacity."

Id.; Will v. Michigan Dep't of State Police, 491 U.S. 58                        (1989).

Section 1983 is not a valid congressional abrogation of Eleventh

Amendment immunity, see Quern v. Jordan, 440 U.S. 332 (1979), and

the   Commonwealth     Defendants      assert    that    they have          "not waived

sovereign     immunity."    ECF   No.    107     at   16;     see    also    Madden    v.

Virginia, No. 3:11CV241, 2011 WL 2559913 (E.D. Va. June 28, 2011)

(holding in similar Section 1983 case that the Eleventh Amendment

barred damages claims against Virginia, the Department of Health

Professions, and the Virginia Board of Medicine).

       However,     state officials may be sued under Section 1983 in

their individual capacities. See Hafer v. Melo, 502 U.S. 21 (1991).

The fact that a plaintiff characterizes a suit as an individual

capacity suit does not end the matter.                  See Martin v.         Wood,   772

F.3d 192, 195-96 (4th Cir. 2014). The Court must "look beyond the

form of the complaint and the conclusory allegations against [state

officials]     to    determine"   if    the     State    is    the    real    party    in




12There are three recognized exceptions to Eleventh Amendment
immunity:     congressional abrogation,   prospective injunctive
relief against state officers, and State waiver. See Lee-Thomas v.
Prince George's Cnty. Pub. Schs., 666 F.3d 244, 248-49 (4th Cir.
2012) (citations omitted). None are implicated by Count IV.

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interest.    Id.   at 195. The Fourth Circuit requires the Court to

assess several factors to determine if the State is the real party

in interest:

              (1) were the allegedly unlawful actions of the
             state officials tied inextricably to their
             official duties; ( 2) if the state officials
             had authorized the desired relief at the
             outset, would the burden have been borne by
             the State; (3) would a judgment against the
             state officials be institutional and official
             in character, such that it would operate
             against the State; (4) were the actions of the
             state officials taken to further personal
             interests distinct from the State's interests;
             and (5) were the state officials' actions
             ultra vires.

Id. at 196 (citations omitted).

     Applying the controlling framework, the Court concludes that

the entity Commonwealth Defendants-the Commonwealth of Virginia;

the Department of Health Professions ("DHP"); the Virginia Board

of   Medicine      ("Board"),   which        is     a     part    of   DHP;   Virginia

Commonwealth       University    ("VCU");           and     the    Virginia     Heal th

Practitioners'     Monitoring Program             ("HPMP")-are all protected by

Virginia's     Eleventh   Amendment      immunity.          See    Madden,    2011   WL

2559913 at *2-3 (holding that the Commonwealth, DHP, and Board are

all protected by Eleventh Amendment in similar Section 1983 case).

The reasoning in Madden applies in full force to the Commonwealth,

DHP, and the Board here.

     Further, the Court agrees with Judge Spencer that, applying


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the factors from Lawson,           828 F.3d at 250, "VCU is an arm of the

state    and   consequently,       the     Eleventh Amendment          applies    here."

DeBauche,      7 F. Supp.     2d at 721-22.            Application of the Lawson

factors     also   shows    that   HPMP     is    an   arm of    the    state.         Most

importantly,       HPMP is maintained by DHP and the Director of OHP

promulgates regulations for the operation of HPMP. See Va. Code§

54 .1-2516.     HPMP is also involved in the               state-wide concern of

monitoring physicians with impairments.                   Consequently,        the Court

holds that the Eleventh Amendment bars Clowdis' assertion of Count

IV against the Commonwealth, DHP, the Board, VCU, and HPMP.

        This   brings   the     analysis     to    the    individual     Commonwealth

Defendants-William Harp,           M.D.,    Executive Director of the Board;

Jennifer Deschenes, Deputy Executive Director of the Board; Sherry

Foster, of DHP; investigator Loretta Hopson-Bush of the Board; and

Amy   Stewart,     of   HPMP.      Clowdis       brings   suit   against       them all

"individually (personally) and in [their] official capacit[ies] ."

See SAC 11 9-12, 15. To the extent that these Defendants are sued

in their official capacities, those damages claims are barred by

the   Eleventh Amendment.          Kentucky v.         Graham,   473    U.S.     at    169.

Additionally,      applying the factors set forth in Martin v.                        Wood,

772 F.3d 192, the Court concludes that the "individual" capacity

suits are really suits against the Commonwealth, and must fail on

Eleventh Amendment grounds.


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        First,   it    is    clear       that   the     violations          of   which Clowdis

complains as allegedly committed by these Defendants were "tied

inextricably to their official duties." Wood, 772 F.3d at 196. The

essence of Clowdis' complaint against these Defendants is how they

performed their official duties in investigating and suspending

his medical license. See SAC~~ 31, 37-38, 52, 89, 95. Second, the

Commonwealth, not the individual Defendants, would have borne the

burden of reinstating Clowdis' license. Third, a judgment against

these    officials      would       be     institutional            and     paid   for     by    the

Commonwealth       itself.        ECF No.       107     at    18.    Fourth,       there    is    no

evidence that the actions by the individual Defendants were "to

further personal interests," but rather were done as part of their

role of investigating the suspension of Clowdis' medical license.

Wood,    772 F.3d at 196. Lastly, Clowdis has not established that

the actions of the individual Defendants were ultra vires; rather,

they were done as part of these officials' duties. See SAC i i 31,

37-38,    52,    89,   95.         For these          reasons,       Clowdis'      attempts to

recharacterize         his    suit       against        the    individual          Commonwealth

Defendants fails, and the Eleventh Amendment protects them too.

        C. Conclusion        as    to     Commonweal th         Defendants         (Entity       and
        Individual)

        For the reasons set forth above, the Commonwealth Defendants'

THIRD AMENDED MOTION TO DISMISS                       ( ECF No.     10 6)    is granted,         and

Counts I through IV of the SAC are dismissed with prejudice.
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II.     VCU Defendants' Motion to Dismiss (ECF Nos. 108, 129)

        The Court next turns to the two pending MOTIONS TO DISMISS by

the VCU Defendants (ECF Nos. 108, 129).                            The VCU Defendants argue

that,    for all Counts:               ( 1)    the statutes of limitations have run;

(2)    that    the      VCU    Defendants         are     immune    from   the    claims    under

various theories;              ( 3)    that Clowdis failed to follow Va.                   Code §

8. 01-20. l;     ( 4)    that Clowdis failed to serve the VCU Defendants

with sufficient process;                  (5) that Clowdis failed to timely exhaust

his administrative remedies;                      and    (6)   that Clowdis has failed to

state a claim for relief. ECF No. 109 at 2-3; ECF No. 130 at 2-3.

Clowdis opposes the MOTIONS for essentially the same reasons as he

opposed the          Commonwealth             Defendants'      MOTION.     See generally ECF

Nos. 115, 131.

        As an initial matter, the Court notes that the VCU Defendants

brought a Fed. R. Civ. P. 12(b) (1) MOTION TO DISMISS asserting a

lack    of    subject         matter          jurisdiction     because:     the   statutes     of

limitations       had expired and that various                       immunities,      including

Eleventh      Amendment,              qualified     immunity,       and    judicial      immunity

prevented the Court from exercising subject matter jurisdiction.

ECF No.       109 at 8-11;             ECF No.     130 at 3-8.        While the Court must

always assure itself of its subject matter jurisdiction, a MOTION

TO DISMISS on statute of limitations grounds is properly considered

under Fed.      R.      Civ.    P.     12(b) (6).       See Penn v.      1st S.   Ins.    Servs.,


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Inc., 324 F. Supp. 3d 703, 714 n.9 (E.D. Va. 2018). Thus, the Court

considers the statute of limitations defense not as a limitation

on its subject matter jurisdiction, but as a failure to state a

claim under 12(b) (6). And,                as discussed supra note 7,            the Court

may consider the non-Eleventh Amendment immunities under Fed. R.

Civ. P. 12 (b) (6) as well.

        Insofar       as   the       VCU   Defendants      assert    Eleventh    Amendment

immunity, the Court again notes that "sovereign immunity is akin

to an affirmative defense, which the defendant bears the burden of

demonstrating." Hutto v. S.C. Retirement Sys., 773 F.3d 536,                            543

(4th Cir. 2014). The Supreme Court has not yet decided "whether

Eleventh      Amendment        immunity      goes     to   a   court's    subject   matter

jurisdiction." Id. at 542-43 (internal quotations omitted). While

the "trend" is to consider Eleventh Amendment arguments under Rule

12(b)(l)      (verses 12(b)(6)), the Fourth Circuit has yet to decide

this question. Taylor, 2018 WL 2108022, at *4 (citation omitted);

Quigley v. McCabe, No. 2:17cv70, 2017 WL 3821806, at *2 (E.D. Va.

Aug. 30, 2017).

        Given        the   Fourth      Circuit's      holding       in   Hutto   that   the

"defendant bears the burden of demonstrating" the applicability of

Eleventh Amendment immunity, 773 F.3d at 543, the Court concludes

that,    as     to    Counts     I    through   III     (ADA and Rehabilitation Act

claims),      the VCU Defendants have failed to satisfy their burden


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that   the    Eleventh Amendment         applies   to them and these      Counts.

Nowhere in their briefing do the VCU Defendants discuss the ADA's

express abrogation of Eleventh Amendment immunity, see 42 U.S.C.

§ 12202, the Supreme Court's decisions regarding Title II of the

ADA's abrogation of the Eleventh Amendment, see United States v.

Georgia,      546 U.S.   151   (2006);     Tennessee v.    Lane,    541 U.S.   509

(2004), or the Fourth Circuit's decision in Constantine, 411 F.3d

474    (4th   Cir.    2005)    (waiver    of   sovereign   immunity    under   the

Rehabilitation Act). Because the VCU Defendants have not cited or

analyzed the impact of these authorities with regard to Counts I

through III, the Court finds that they have not established that

the Eleventh Amendment bars the Court's jurisdiction as to these

Counts.

       The Court also finds that the VCU Defendants have failed to

satisfy their burden to establish that the Eleventh Amendment bars

Count IV against them. See ECF NO. 130 at 4-5. The VCU Defendants

assert that the VCU Health System Authority is a state entity, but

do not make an argument about the role of MCVAP as a state entity.

See id.      Then,   the VCU Defendants assert that "Dr.            Silverman is

also immune from claims in his official capacity" and that "his

employers, VCUHSA and MCVAP" are thus immune.               Id.    In a footnote,

the VCU Defendants attempt to "incorporate" an entire argument

made by the Commonwealth Defendants about the Eleventh Amendment


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protection of HPMP.               Id.   at 5 n.1.     The Court does not find that

such     conclusory            assertions      and    incorporation          by        reference

satisfies      the    VCU        Defendants'     burden      to   demonstrate           that        the

Eleventh Amendment applies to them as to Count IV.

       In sum, the VCU Defendants have failed to meet their burden

to    establish      an        Eleventh    Amendment       defense.      However,            the    VCU

Defendants'      MOTION TO DISMISS may be properly considered under

Fed. R. Civ. P. 12(b) (6), and the Court now will turn to that task.

       A. Counts I through I I I

       As it did with the Commonwealth Defendants' MOTION, the Court

considers Counts I through III together. See, e.g., A Soc'y Without

A    Name v.   Virginia,          655     F. 3d at 34 7-4 8.      And,    for very similar

reasons, the motion (ECF No. 108} made by the VCU Defendants will

be granted.

               (1) Statute of Limitations Bars Clowdis' Claims

       The one-year statute of limitations on Counts I through III

clearly bars these Counts as to the VCU Defendants. As explained

above, any claims under Counts I through III must have accrued by

March 3, 2014.            The SAC demonstrates that the last allegation by

Clowdis that can even remotely be construed to apply against the

VCU    Defendants         is    Silverman's      "independent medical             evaluation"

done in preparation for the 2011 license hearing and "testimony"

of    Silverman      at    the     hearing     on    May    11,   2011.    SAC    '.lI'.lI    49,    3.


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Accordingly, at the latest, any of Clowdis' claims under Counts I

through III must have been brought by or around May 11,                            2012.

Instead, they were brought on March 3, 2015. Thus, they are time

barred.

      The arguments made by Clowdis for continuous violation and

equitable tolling as to the VCU Defendants are even weaker than

they are against the Commonwealth Defendants. Paragraph 60 of the

SAC states, "Defendants, including but not limited to the Medical

Board and the NPDB, have continued discriminatory acts against Dr.

Clowdis     to present.         This   includes acts      in retaliation of this

complaint,        whereby the Medical Board reported false information

against Plaintiff to the NPDB, which the NPDB published, in June

2015." SAC    <:II   60. While the VCU Defendants are "Defendants" in this

case, Clowdis' broad allegation of continuing violations does not

even mention anything tied to the VCU Defendants. In his response

brief,    Clowdis argues that "ex parte communications between VCU

Defendants           and   Commonwealth      Defendants"      and    the    fact    that

"Silverman was provided a copy of this complaint by Court Order,

entered April 6, 2015," establishes a continuing violation as to

the   VCU   Defendants.         ECF    No.   115   at   10,   17.   Those   conclusory

allegations do not establish a continuing violation of either the

ADA or the Rehabilitation Act by the VCU Defendants.                        Similarly,

Clowdis     has      not made    any    showing that      "some     kind of wrongful


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conduct on the part of the       [VCU Defendants]" or "extraordinary

circumstances beyond [Clowdis'] control made it impossible to file

the claims on time" in order to invoke equitable tolling. Harris,

209 F.3d at 330.

     Accordingly, the Court will grant the VCU Defendants' MOTION

TO DISMISS (ECF No. 108) as to Counts I through III.

     B. Count :rv

     As with Counts I through III, the Court also concludes that

Clowdis' claim in Count IV against the VCU Defendants fails under

the applicable statute of limitations. The MOTION TO DISMISS as to

this Count (ECF No. 129) is granted.

     (1) Statute of Limitations Bars Clowdis' Claims

     Count IV alleges a due process violation pursuant to the

Fourteenth Amendment and 42 U.S.C. § 1983.          There is no statute

of limitations in 42 U.S.C. § 1983, so courts borrow an analogous

state statute of limitations. See Lewis v. Richmond City Police

Dep't, 947 F.2d 733, 735 (4th Cir. 1991). The Supreme Court of the

United States has held that courts should apply a state's statute

of limitations for personal injury actions to Section 1983 actions.

See Owens v. Okure, 488 U.S. 235, 239-242 (1989); Wilson v. Garcia,

471 U.S. 261 (1985) In Virginia, federal courts apply the state's

two-year statute of limitations for personal injury claims to

Section 1983 claims. See A Society Without A Name,           655 F.3d at

                                   35
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348;    Lewis,    947         F.2d at   735;   Va.    Code   §   8.0l-243(A)   ("[E]very

action for personal injuries, whatever the theory of recovery . .

. shall   be brought within two                years    after the     cause    of action

accrues,,,).         And, a "civil rights claim accrues when the plaintiff

knows or has reason to know of the injury which is the basis of

the action." A Society Without A Name, 655 F.3d at 348                         (internal

quotation omitted) .             Accordingly,        Clowdis must have brought his

Section 1983 claim for the alleged due process violation within

two years of "know[ing] or [having] reason to know of the injury.,,

Id.

       Reviewing Count IV of the SAC for allegations against the VCU

Defendants       reveals         that   Clowdis      makes   vague   allegations    that

various Defendants "arbitrarily and irrationally classified and

discriminated against              [him]   based on perceived disabilities and

other characteristics" in violation of due process, SAC '.II 89; that

"additional terms and conditions were assessed against Dr. Clowdis

despite a conflict of interest on the part of Dr. Silverman and

his HPMP," id.          err   93; and that various Defendants "continued" to

violate his due process rights. Id.<[<[ 94-97. The last date certain

in the allegations is the second Board hearing, held on February

22,    2013.   Id.    at 95-96. Clowdis thus had until February 2015 to

bring his claim. He did not bring this suit until March 3, 2015,

meaning that it is time-barred. See A Society Without A Name, 655


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F.3d at 348; Lewis, 947 F.2d at 735; Va. Code§ 8.0l-243(A).

     However, that conclusion is a perhaps too-generous reading of

the SAC's allegations against the VCU Defendants. In reality, what

Clowdis complains about as to the VCU Defendants is Dr. Silverman's

conflict of interest as the CEO of the HPMP. i i 49, 50, 51, 55.

This, Clowdis alleges, tainted the May 2011 Board hearing, see,

~    id. i 50-51, a taint that Clowdis asked the Board of Medicine

to reconsider at the February 2013 hearing.            Id.    i    55. Clowdis'

Section 1983 claims against the VCU Defendants, then, accrued in

May 2011, and must have been brought by May 2013. Under either

reading of the SAC, Count IV is time-barred.

     Finally,     neither    equitable    tolling    nor     the    "continuing

violation" doctrine saves Count IV as to the VCU Defendants. Other

than conclusory allegations of continuing violations, Clowdis has

alleged nothing to establish that either of these doctrines apply.

     C. Conclusion as to VCU Defendants

     For the reasons set forth above, all four Counts against the

VCU defendants will be dismissed with prejudice.

                                 CONCLUSION

     For the foregoing reasons, the THIRD AMENDED MOTION TO DISMISS

(ECF No. 106); RENEWAL AND SUPPLEMENTATION OF MOTIONS TO DISMISS

BY   DEFENDANTS    JOEL     JEREMY   SILVERMAN,     M.D.;    MCV     ASSOCIATED

PHYSICIANS;   AND VIRGINIA COMMONWEALTH UNIVERSITY HEALTH SYSTEM

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AUTHORITY (ECF No. 108); and SECOND RENEWAL AND SUPPLEMENTATION OF

MOTIONS TO DISMISS BY DEFENDANTS JOEL JEREMY SILVERMAN, M.D.; MCV

ASSOCIATED PHYSICIANS; AND VIRGINIA COMMONWEALTH UNIVERSITY HEALTH

SYSTEM AUTHORITY (ECF No. 129) are GRANTED in their entirety.

     The Court dispenses with oral argument because the facts and

legal conclusions are adequately presented in the materials and

oral argument would not aid in the decisional process.

     The Clerk is directed to send a copy of this Memorandum

Opinion to the Plaintiff.

     It is so ORDERED.


                                                    Isl
                                  Robert E. Payne
                                  Senior United States District Judge


Richmond, Virginia
Date: March JLI{_, 2019




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